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8
                  IN THE UNITED STATES DISTRICT COURT
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                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                              Case No. 19-MJ-02195
      UNITED STATES OF AMERICA,
13
                          Plaintiff,
14                                              ORDER OF DETENTION
                     v.
15
      LEO HU,
16
                          Defendant.
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                                               I.
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              The Court conducted a detention hearing:
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              ☒     On motion of the Government [18 U.S.C. § 3142(f)(1)] in a case:
21
              allegedly involving:
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                    ( ) a crime of violence.
23
                    ( ) an offense with a maximum sentence of life imprisonment or
24
                    death.
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     //
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1                 (x) a narcotics or controlled substance offense with the maximum
2                 sentence of ten or more years.
3                 ( ) any felony – where defendant convicted of two or more prior
4                 offenses described above.
5                 ( ) any felony that is not otherwise a crime of violence that involves a
6                 minor victim, or possession of a firearm or destructive device or any
7                 other dangerous weapon, or a failure to register under 18 U.S.C.
8                 § 2250.
9
10         ☒      On motion by the Government or on the Court’s own motion
11   [18 U.S.C. § 3142(f)(2)] in a case allegedly involving, on further allegation by the
12   Government of:
13                (X) a serious risk that defendant will flee
14                ( ) a serious risk that the defendant will ( ) obstruct or attempt to
15                obstruct justice; ( ) threaten, injure or intimidate a prospective witness
16                or juror, or attempt to do so.
17
18         ☒ The Court concludes that the Government is entitled to a rebuttable
19   presumption that no condition or combination of conditions will reasonably assure
20   the defendant’s appearance as required and the safety or any person or the
21   community [18 U.S.C. § 3142(e)(2)].
22
23                                           II.
24         ☒ The Court finds that no condition or combination of conditions will
25   reasonably assure: ☒ the appearance of the defendant as required.
26                      ☐ the safety of any person or the community.
27         ☒ The Court finds that the defendant has not rebutted by sufficient evidence
28   to the contrary the presumption provided by statute.

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2                                           III.
3          The Court has considered: (a) the nature and circumstances of the offense(s)
4    charged, including whether the offense is a crime of violence, a Federal crime of
5    terrorism, or involves a minor victim or a controlled substance, firearm, explosive,
6    or destructive device; (b) the weight of evidence against the defendant; (c) the
7    history and characteristics of the defendant; and (d) the nature and seriousness of
8    the danger to any person or the community. [18 U.S.C. § 3142(g)] The Court also
9    considered all the evidence adduced at the hearing and the arguments, the
10   arguments of counsel, and the report and recommendation of the U.S. Pretrial
11   Services Agency.
12                                          IV.
13         The Court bases its conclusions on the following:
14         ☒ As to risk of non-appearance: defendant’s family ties to foreign country;
15   defendant is a dual citizen of country with which United States does not have an
16   extradition treaty; defendant fled on foot when law enforcement arrived at his
17   residence; proffered description of defendant’s ability to run dark web operation
18   (as described in complaint affidavit) remotely, including from Taiwan.
19         ☐ As to danger to the community:
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22                                                     V.
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1          ☐      The Court finds a serious risk that the defendant will
2                 ☐     obstruct or attempt to obstruct justice.
3                 ☐     threaten, injure or intimidate a prospective witness or juror, or
4                       attempt to do so.
5          The Court bases its conclusions on the following:
6                                             VI.
7          IT IS THEREFORE ORDERED that the defendant be detained until trial.
8    The defendant will be committed to the custody of the Attorney General for
9    confinement in a corrections facility separate, to the extent practicable, from
10   persons awaiting or serving sentences or being held in custody pending appeal.
11   The defendant will be afforded reasonable opportunity for private consultation
12   with counsel. On order of a Court of the United States or on request of any
13   attorney for the Government, the person in charge of the corrections facility in
14   which defendant is confined will deliver the defendant to a United States Marshal
15   for the purpose of an appearance in connection with a court proceeding.
16   [18 U.S.C. § 3142(i)]
17
     Dated: 05/28/2019                      ____________________________________
18
                                            HON. ROZELLA A. OLIVER
19                                          UNITED STATES MAGISTRATE JUDGE
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